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PROB 12C                                                                                      June 26, 2020
(06/17)                                                                                          pacts id: 222944


                                  UNITED STATES DISTRICT COURT
                                            FOR THE
                                SOUTHERN DISTRICT OF CALIFORNIA
                    Petition for Warrant or Summons for Offender Under Supervision


Name of Offender: Javier Sandoval (English)                                  Dkt No.: 08CR03179-001-JLS
Reg. No.: 09333-298
Name of Sentencing Judicial Officer: The Honorable Janis L. Sammartino, U.S. District Judge
Original Offense: 21 U.S.C. §§ 952 and 960, Importation of Methamphetamine, a Class A felony.
Date of Revocation Sentence: September 26, 2019
Sentence: Time served (67 days’ custody; 3 years’ supervised release (Special Conditions: Refer to Judgment
and Commitment Order.)
Type of Supervision: Supervised Release           Date Supervision Commenced: September 27, 2019
Asst. U.S. Atty.: John R. Kraemer                 Defense Counsel:     Heather Rogers
                                                                       (Appointed)
                                                                       619-233-3169
Prior Violation History: Yes. See prior court correspondence.
                                      PETITIONING THE COURT

TO SUMMON THE OFFENDER TO APPEAR BEFORE THE COURT
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The probation officer believes that the offender has violated the following condition(s) of supervision:

 CONDITION(S)                                      ALLEGATION(S) OF NONCOMPLIANCE

 (Mandatory Condition)
 The defendant shall not illegally possess a           1. On or about February 27, and May 21, 2020, Mr.
 controlled substance. The defendant shall                Sandoval used a controlled substance, as evidenced
 refrain from any unlawful use of a                       by the urine sample he submitted at the U.S. Probation
 controlled substance. Submit to one drug                 Office on that date, which confirmed positive for
 test within 15 days of release from                      methamphetamine.
 imprisonment and at least two periodic
 drug tests thereafter. Testing requirements           2. On January 21, February 21, May 7, June 12 and June
 will not exceed submission of more than                  22, 2020, Mr. Sandoval failed to comply with drug
 four (4) drug tests per month during the                 testing requirements as instructed by the probation
 term of supervision, unless otherwise                    officer, in that he failed to submit a urine specimen at
 ordered by the court.                                    the U.S. Probation Office, as required.

 (Standard Condition)
 The defendant must answer truthfully the
 questions asked by their probation officer.


Grounds for Revocation: As to allegation 1, I received and reviewed written laboratory notification from Alere
Toxicology Services, which verifies the urine specimens provided by the offender on February 27, and May 21,
2020, confirmed positive for methamphetamine. When confronted with the positive tests results on March 17,
and June 11, 2020, Mr. Sandoval denied use although the results were confirmed by Alere National Lab.

As to allegation 2, I have received and reviewed the Chain of Custody for Drug Analysis form which confirms
that on the above dates; Mr. Sandoval failed to submit a urine sample, as required. On October 18, 2019, the
probation officer reviewed written instructions for drug testing with Mr. Sandoval, and he acknowledged receipt
of the instructions with his signature. Specifically, Mr. Sandoval was instructed to call the drug testing line
Sunday-Thursday and report for drug testing when required in the automated testing line recording.
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 (Special Condition)
 Participate in a program of drug or alcohol           3. On or about March 17, April 23, May 15, and June 11,
 abuse treatment, including drug testing and              2020, Mr. Sandoval failed to follow the instructions
 counseling, as directed by the probation                 of the probation officer to enroll in substance abuse
 officer. Allow for reciprocal release of                 treatment services with McAlister.
 information between the probation officer
 and the treatment provider. May be
 required to contribute to the costs of
 services rendered in an amount to be
 determined by the probation officer, based
 on ability to pay.

 (Standard Condition)
 The defendant must follow the instructions
 of the probation officer related to the
 conditions of supervision.

Grounds for Revocation: As to allegation 3, on March 17, April 23, May 15, and June 11, 2020, Mr. Sandoval
was directed to enroll in outpatient substance abuse treatment services with McAlister. To date, Mr. Sandoval has
failed to provide proof of enrolling in substance abuse treatment services.


                                 VIOLATION SENTENCING SUMMARY


SUPERVISION ADJUSTMENT

Mr. Sandoval commenced his third term of supervised release on September 27, 2019. The same day, he entered
Tradition One, a residential drug treatment program. On December 25, 2019, Mr. Sandoval successfully
completed Tradition One and began after care treatment services. Unfortunately, on February 27, 2020, Mr.
Sandoval submitted a positive drug test for methamphetamine. When confronted with the drug test results, Mr.
Sandoval denied use although it was confirmed by Alere National Lab. Due to Mr. Sandoval using drugs while
in an aftercare program, Mr. Sandoval was directed to enroll in outpatient substance abuse treatment services on
March 17, 2020.

Throughout the next two and a half months, the probation officer contacted Mr. Sandoval numerous times
regarding his enrollment in outpatient substance abuse treatment services. Mr. Sandoval claimed he was having
problems with his phone, then with the internet, then he stated he lost his phone and had two family deaths, all
reasons he also used for not responding to the probation officer for weeks at a time. Throughout this, Mr. Sandoval
has failed to appear for drug testing on several instances and submitted another positive drug test. When
confronted with the positive drug test, Mr. Sandoval again denied use although confirmed both times by the
National Lab. It is concerning that Mr. Sandoval continues to use drugs and not take accountability for his actions.
To date, he has failed to provide proof of enrolling in substance abuse treatment services.
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OFFENDER PERSONAL HISTORY/CHARACTERISTICS

Mr. Sandoval has no juvenile arrests. His criminal history includes arrests for grand theft of a firearm, assault
with physical injury, possession of drug paraphernalia, driving with a suspended license, driving without
insurance and alien smuggling. As a result, he has established a Criminal History Category III. Mr. Sandoval was
born in Dos Palos, California, and currently resides in Tijuana, Mexico. He has 5 children and is in a co-habitating
relationship with a woman from Tijuana.

Per the presentence report, Mr. Sandoval’s history of drug abuse dates back to 2006, where he experimented with
crystal methamphetamine. While in custody he completed the 500-hour RDAP program as well as Sharper Future.
Since his release he has been consistently employed. In February 2017, Mr. Sandoval began working for HDR
Landscape Services where he continues to be employed.

SENTENCING OPTIONS

CUSTODY

Statutory Provisions: Upon the finding of a violation, the court may modify the conditions of supervision; extend
the term (if less than the maximum authorized term was previously imposed); or revoke the term of supervised
release. 18 U.S.C. § 3583(e)(2) and (3).

Mandatory Revocation: If it is determined that the offender has violated the conditions of supervised release by
refusing to comply with drug testing, the court is required to revoke supervised release and impose a sentence
that includes a term of imprisonment. 18 U.S.C. § 3583(g)(3), and USSG §7B1.4, p.s., comment. (n.5).

If the court revokes supervised release, the maximum term of imprisonment upon revocation is 5 years. 18 U.S.C.
§ 3583(e)(3).

USSG Provisions: The allegations (use of a controlled substance, failure to appear for drug testing and failure to
participate in substance abuse treatment) constitute Grade C violations. USSG §7B1.1(a)(3), p.s.

Upon a finding of a Grade C violation, the court may (A) revoke supervised release; or (B) extend the term and/or
modify the conditions of supervision. USSG §7B1.3(a)(2), p.s.

A Grade C violation with a Criminal History Category III (determined at the time of sentencing) establishes an
imprisonment range of 5 to 11 months. USSG § 7B1.4, p.s. It is noted that in the case of a Grade C violation,
and where the minimum term of imprisonment determined under USSG §7B1.4, p.s., is at least one month but
not more than six months, the minimum term may be satisfied by (A) a sentence of imprisonment; or (B) a
sentence of imprisonment that includes a term of supervised release with a condition that substitutes community
confinement... for any portion of the minimum term. USSG §7B1.3(c)(1), p.s.
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REIMPOSITION OF SUPERVISED RELEASE

If supervised release is revoked and the offender is required to serve a term of imprisonment, the court can
reimpose supervised release upon release from custody. The length of such a term shall not exceed the term of
supervised release authorized by statute for the offense that resulted in the original term of supervised release,
less any term of imprisonment imposed upon revocation. 18 U.S.C.§ 3583(h).

In this case, the court has the authority to reimpose a term of supervised release of any years up to life, less any
term of imprisonment imposed upon revocation. 18 U.S.C. § 3583(k), and 21 U.S.C. §§ 841, 960.

RECOMMENDATION/JUSTIFICATION

This is Mr. Sandoval’s third term of supervised release. Throughout his last two supervision periods, he has
repeatedly used methamphetamine and failed to appear for drug testing. Despite completing an inpatient drug
treatment program on December 25, 2019, Mr. Sandoval continues displaying this same pattern. Mr. Sandoval’s
continuous poor supervision adjustment is of serious concern and it does not appear that he is taking his supervised
release seriously, or his sobriety. Further, Mr. Sandoval does not take accountability for his drug use, making it
more difficult to work with Mr. Sandoval. Despite repeated efforts to help bring him into compliance, he has
failed to enroll in substance abuse treatment.

As such, this petition is being filed to summons Mr. Sandoval before Your Honor to answer to this alleged
violation conduct to demonstrate that there will be consequences if he continues this pattern of behavior and drug
use while on supervision. The undersigned recommends that at the Order to Show Cause hearing, this petition
be held in abeyance and a status hearing be set to monitor his participation in drug treatment and the drug testing
program. It is hoped this higher level of accountability will motivate him to participate in outpatient drug
treatment and provide additional motivation for him to maintain sobriety.



 I declare under penalty of perjury that the
 foregoing is true and correct.

 Executed on: June 26, 2020

 Respectfully submitted:                                     Reviewed and approved:
 DANIEL J. KILGORE
 CHIEF PROBATION OFFICER



 by
        Nicole G. Fisher                                     Paula D. Burke
        U.S. Probation Officer                               Supervisory U.S. Probation Officer
        (619) 446-3843

                                                                                                jga
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                                     VIOLATION SENTENCING SUMMARY


1. Defendant: Sandoval, Javier

2. Docket No. (Year-Sequence-Defendant No.): 08CR03179-001-JLS


3. List Each Violation and Determine the Applicable Grade (See USSG § 7B1.1):

                                                                                                  Grade
            Violation(s)
            Use of a controlled substance                                                         C
            Failure to appear for drug testing                                                    C
            Failure to participate in substance abuse treatment                                   C




4. Most Serious Grade of Violation (See USSG § 7B1.1(b))                                          [   C        ]
5. Criminal History Category (See USSG § 7B1.4(a))                                                [   III      ]
6. Range of Imprisonment (See USSG § 7B1.4(a))                                          [   5 to 11 months ]


7. Unsatisfied Conditions of Original Sentence: List any restitution, fine, community confinement, home
   detention, or intermittent confinement previously imposed in connection with the sentence for which revocation
   is ordered that remains unpaid or unserved at the time of revocation (See USSG § 7B1.3(d)):

                  Restitution ($)                         Community Confinement
                  Fine($)                                 Home Detention
                  Other                                   Intermittent Confinement
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THE COURT ORDERS:
     X       AGREE. THE ISSUANCE OF A SUMMONS ORDERING THE OFFENDER TO APPEAR
             BEFORE THE COURT ON __JULY 24, 2020__, AT _1:30 P.M.__, TO SHOW CAUSE WHY
             SUPERVISED RELEASE SHOULD NOT BE REVOKED.

             DISAGREE. A NO-BAIL BENCH WARRANT BE ISSUED BASED UPON A FINDING OF
             PROBABLE CAUSE TO BRING THE OFFENDER BEFORE THE COURT TO SHOW CAUSE
             WHY SUPERVISED RELEASE SHOULD NOT BE REVOKED FOR THE ALLEGED
             VIOLATIONS.

            Other




                                                                        06/29/2020
The Honorable Janis L. Sammartino                                      Date
U.S. District Judge
